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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                                 CIVIL MINUTES – JURY TRIAL
                                               Day Nine


   Case No.: 3:17CV72                    Date: Nov 4 , 2021

     Elizabeth Sines, et al                          Counsel: Michael Bloch, Roberta Kaplan,
     Plaintiff(s)                                    Karen Dunn, Emily Cole, David Mills,
                                                     Arpine Lawyer, William Isaacson
     v.
                                                     Counsel: Bryan Jones, David Campbell,
     Jason Kessler, et al                            James Kolenich
     Defendant(s)
                                                     Richard Spencer, pro se, Christopher
                                                     Cantwell, pro se

                                                     William ReBrook and Joshua Smith
                                                     Appearing by Zoom; Dillon Hopper, pro
                                                     se, Appearing by Zoom



   PRESENT: JUDGE:                   Norman K. Moon              TIME IN COURT: 9:00-
   10:30=1hr 30min; 10:55-12:30=1hr 35min; 1:35-3:00= 1hr 25min; 3:25-5:00= 1hr 35min
   Total=6hr 5min
                Deputy Clerk:        Heidi N. Wheeler/Susan Moody
                Court Reporter:      Lisa Blair


                                         LIST OF WITNESSES

       PLAINTIFF                                          DEFENDANT
     1. Elliott Kline-Video Depo Cont.               1.
     2. Richard Spencer


          Plaintiff presents/continues presentation of evidence.

   Additional Information:

   Before jury seated, issues of video depositions addressed.
   Arguments heard from Mr. Kolenich regarding Vanguard America and Hopper. Ms. Kaplan
   responds. Court states the deposition may be played.
   Instruction to be read to jury.
   Jury seated.
   Instruction read to the jury re: deposition.
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   Deposition of Kline continues.

   Richard Spencer called to testify.
   Break.
   Testimony resumes.
   Break
   Testimony of Spencer resumes.
   Break.
   Testimony resumes.

   Cross begins with Mr. Kolenich.
   Court addresses issue of Mr. Hopper asking question on zoom.
   Mr. Campbell has brief cross.
   Mr. Jones follows.
   Mr. Cantwell begins cross.

   Court adjourns for the day at 5:00

   Jury to return at 9:00 a.m. on Nov 5th.
